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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 UNITED STATES OF AMERICA,

           v.                                              CASE NO.: 5:21-cr-9

 MARIA LETICIA PATRICIO,
 DANIEL MENDOZA,

                Defendants.


                                           ORDER

       This matter is before the Court on the Defendants’ Joint Motion for Contact with Co-

Defendants. Doc. 577. Defendants represent that the Government does not object to the Motion,

and that the United States Probation Officers for the Defendants have confirmed that the

Defendants have been in compliance with their bond conditions and leave the Defendants’

request to the Court’s discretion. After careful consideration, the Defendants’ Joint Motion for

Contact with Co-Defendants, doc. 577, is GRANTED. Defendants, who are mother and son, are

permitted to have communication with each other and the restriction of the no contact with

codefendants outside the presence of counsel is lifted as to Defendants Maria Leticia Patricio and

Daniel Mendoza. Defendants are, however, not allowed to speak about the case with one

another.

       Defendants are Ordered to communicate with their respective supervising probation

officers as directed and must follow all instructions provided by their supervising probation

officers related to this modification. Moreover, all other conditions of release are unaffected by

this modification and are still in effect, doc. 124, as amended, as to Defendant Maria Leticia

Patricio, and doc. 268, as to Defendant Daniel Mendoza.
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    SO ORDERED, this 10th day of May, 2023.




                               BENJAMIN W. CHEESBRO
                               UNITED STATES MAGISTRATE JUDGE
                               SOUTHERN DISTRICT OF GEORGIA
